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                               UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF CONNECTICUT
                                      HARTFORD DIVISION

------------------------------------------------------------ X
                                                             :
In re:                                                                Chapter 11
                                                             :
CARLA’S PASTA, INC., ET AL.,                                 :        Case No. 21-20111-JJT
                                                             :
                            Debtors.                         :        (Jointly Administered)
                                                             :
                                                             X
                                                             :
SURI REALTY LLC,                                             :
                                                             :
                            Movant,                          :
                                                             :
v.                                                           :
                                                             :        July 22, 2021
                                                             :
TOWN OF SOUTH WINDSOR,                                       :
CONNECTICUT,                                                 :
                                                             :
                            Respondent,                      :
______________________________________ X

 MOTION OF TOWN OF SOUTH WINDSOR FOR RELIEF FROM ORDER GRANTING
       DEBTORS’ MOTION FOR DETERMINATION OF TAX LIABILITY

         The Town of South Windsor (the “Town”), hereby moves pursuant to Rule 60(b)(1) and

(b)(6) of the Federal Rules of Civil Procedure, as made applicable by Rule 9024 of the Federal Rules

of Bankruptcy Procedure, for relief from this Court’s Order Granting Debtors’ Motion to Determine

Tax Liability Under 11 U.S.C. § 105 and 505 entered on May 26, 2021 (ECF No. 646) (the “Tax

Order”). The Town seeks relief from the Tax Order on grounds of factual and legal errors in the

Debtors’ Motion for Determination of Tax Liability filed on April 26, 2021 (ECF No. 483) (the “Tax

Motion”).     Specifically, the Debtors’ failure to exercise their statutory right to appeal under

Connecticut state law for the relief belatedly sought through the Tax Motion precluded the entry of

the Tax Order pursuant to 11 U.S.C. § 505(c). Alternatively, the Town requests that the Court



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exercise its broad equitable discretion in granting relief pursuant to Fed. R. Civ. P. 60(b)(6) due to the

Town having not received notice of the Tax Motion and the substantial prejudice that would result in

allowing the unopposed Tax Order to stand without the Court’s review and consideration of the

substantive objections raised by the Town as set forth herein. Accordingly, the Town respectfully

requests that the Court grant relief from the Tax Order to fully evaluate the merits of the Tax Motion,

and based on such evaluation, reverse entry of the Tax Order. In further support of this motion, the

Town states:

                                   RELEVANT BACKGROUND

        1.      On October 29, 2020, an involuntary chapter 7 petition was filed against Debtor

Suri Realty LLC (“Suri”). See Docket No. 20-2170 (“Suri Case”) at ECF 1. Suri’s involuntary

case was converted to a case under chapter 11 on December 17, 2020. See Suri Case at ECF 1.

Suri has continued to operate and manage its properties businesses as a debtor in possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

        2.      According to Schedule A/B filed by Suri on December 31, 2020, Suri was the fee

simple owner of property located at 50 Talbot Lane, South Windsor, Connecticut (the “Subject

Property”). The Subject Property constitutes the real property upon which the production facility

of Carla’s Pasta, Inc. consisting of approximately 150,000 square feet was located.1

        3.      The Court entered an Order approving a sale of the Debtors’ assets, including the

Subject Property, to CP Foods LLC and NFP Real Estate LLC (the “Purchasers”) on April 26,

2021 (ECF No. 486). The closing on the sale occurred on April 30, 2021.




1
  Schedule D to Suri’s Chapter 11 petition also identified a fee simple interest in the property
located at 280 Nutmeg Road, South Windsor, Connecticut, which property was not subject to the
relief granted in the Tax Order.


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        4.     Schedule D to Suri’s petition listed the Town as a secured claimant having a claim

in the amount of $120,995.35.

        5.     On February 8, 2021, Carla’s Pasta, Inc. (“CPI”) filed a voluntary petition for relief

under chapter 11 of the Bankruptcy Code. See Docket No. 21-20111 (“CPI Case”).

        6.     CPI listed the Town on Schedule E/F filed on February 24, 2021 as a creditor

holding a priority, unsecured, unliquidated and contingent claim in an undetermined amount. See

CPI Case ECF No. 161 at 24.

        7.     No appearance has been filed on behalf of the Town in the Debtors’ cases.

The Abatement Agreement

        8.     Pursuant to Conn. Gen. Stat. § 12-65b, the Town established a tax incentive

program to encourage the development and expansion of businesses in the Town through tax and

other economic incentives.      Affidavit of Mary Huda, Assessor of Town of South Windsor

(“Assessor’s Aff.”) ¶ 5. The tax incentive program is designed to retain and attract businesses that

would generate substantial additional tax revenues and employment opportunities for the Town

while providing quality goods and services. Id.

        9.     Conn. Gen. Stat. § 12-65b requires that any tax incentive offered by a municipality

or town be authorized “by affirmative vote of its legislative body.” Conn. Gen. Stat. § 12-65b.

Assessor’s Aff. ¶ 6.

        10.    Over the last 20 years, Suri applied for and received substantial tax relief for the

Subject Property under the tax incentive program. Assessor’s Aff. ¶ 7. In 2001, the Town granted

Suri a 100% abatement on the assessment of real property and personal property taxes for a period

of seven years (the “2001 Abatement”) for its construction of a 46,500 square foot production

facility and office (the “Initial Construction”). Assessor’s Aff. ¶ 8. The 2001 Abatement was



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granted solely for on the assessed value of the improvements made pursuant to the Initial

Construction, and not upon the assessed value of the land. Id.

        11.    In March 2012, the Town granted further tax relief of a 50% abatement on real

property taxes for five years (the “2012 Abatement”) on the Debtors’ expansion of 26,000 square

feet (the “2012 Expansion”). Assessor’s Aff. ¶ 9, Ex. 1. Notably, the 2012 Abatement was granted

only upon the assessed value of the 2012 Expansion, and not as to the assessed value of the land or

the Initial Construction, because the Town had previously granted tax relief in 2001 for the Initial

Construction. Assessor’s Aff. ¶ 9.

        12.    In or about July 2016, Suri submitted a Request for Tax Abatement as an incentive

to invest an estimated $23,448,300 in total costs for land and building improvements and to

construct a 156,322 square foot expansion in the Town (the “Improvements and Expansion”).

Assessor’s Aff. ¶ 10.

        13.    On September 6, 2016, Town Council voted to adopt a resolution (the “2016

Resolution”) authorizing a 70% reduction on the Improvements and Expansion for a period of

seven (7) years. Assessor’s Aff. ¶ 11 at Ex. 2. The 2016 Resolution estimated an annual tax

benefit reduction of $219,810 (calculated based on the mill rate applicable in 2016), commencing

with the Grand List following the date the Certificate of Occupancy is issued. Id. at 12. Like the

2012 Abatement, the estimated tax benefit reduction granted in 2016 was based solely upon an

abatement on the gross assessed value of the Improvements and Expansion, and not based upon the

gross assessed value of the entire parcel because the Town had previously granted abatements on

the Subject Property. Id.

        14.    The 2016 Resolution also imposed several other conditions upon the Debtors to

receive the tax benefit.    It required them to meet an estimated construction costs figure of



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$23,448,300, and further mandated the continued payment of real estate taxes on the Debtors’

facility for a minimum of ten years from the date of the issuance of the Certificate of Occupancy.

Assessor’s Aff. ¶ 13 at Ex. 2. Failure to meet either of those conditions required the Debtors to

refund to the Town all tax benefits received. Id. The 2016 Resolution was also conditioned upon

the Debtors’ execution a written agreement memorializing the terms of the 2016 Resolution. Id.

        15.     On August 14, 2019, CPI was issued a Certificate of Occupancy for its expansion.

Assessor’s Aff. ¶ 14 at Ex. 3.

        16.     On or about October 2, 2019, the Town and Suri entered into an “Agreement

Regarding Real Property Tax Assessment” (the “Abatement Agreement”) incorporating the terms

set forth in the 2016 Resolution.2 Assessor’s Aff. 15 at Ex. 4. Notably, the 2016 Resolution --

approved by the unanimous vote of Town Council -- formed the sole basis for the Town Manager’s

authority to enter into the Abatement Agreement with the Debtors. Id.

        17.     Consistent with the 2016 Resolution, the Abatement Agreement granted Suri a 70%

reduction on the real property assessment for the Subject Property commencing on the Grand List

for the period following the issuance of the certificate of occupancy at any time after June 1, 2019.

Assessor’s Aff. ¶ 16.

        18.     The Abatement Agreement included additional conditions to ensure Suri’s

compliance with the benchmarks set forth in the 2016 Resolution. For example, the Abatement

Agreement required Suri to furnish an affidavit within one year of commencement of operations

affirming the (i) actual value of the site expansion to ensure that the expansion substantially met

the requirements set forth in the Abatement Agreement, (ii) the cost of construction to meet the




2
 The Abatement Agreement was assumed by Suri and assigned to the Purchasers as part of the sale of the Subject
Property.


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minimum required investment of $23,448,300, and (iii) the number of employees employed at its

facility. Assessor’s Aff. ¶ 18. No affidavit of compliance has yet been filed with the Town. Id.

        19.      On January 31, 2020, approximately four months after the execution of the

Abatement Agreement by the parties, the Town issued a Real Property Assessment Notice of the

real property tax assessments for the 2019 Assessment Year (the “2019 Assessment Notice”).

Town. Assessor’s Aff. ¶ 18 at Ex. 5. The 2019 Assessment Notice formed the basis for the 2020

real estate tax bill. Id.

        20.      The 2019 Assessment Notice furnished a clear breakdown of the assessed values

used to determine the amount of the abatement granted by the Town pursuant to the 2016

Resolution and the 2020 taxes. Assessor’s Aff. ¶ 19. Specifically, the Assessment Notice showed

(i) the 2018 gross assessed value ($9,986,900) of the Subject Property without the Improvements

and Expansion, and (ii) the 2019 gross assessed value reflecting a substantially higher gross

assessed value ($20,883,500) comprised of the assessed value of the Subject Property with the

Improvements and Expansion. Id. The 2019 Assessment Notice also showed an abatement in the

amount of $7,627,600. Id. Even a cursory review of this Notice was sufficient to alert Suri that the

70% abatement was not applied by the Town to the total gross assessed value of the Subject

Property (as Suri later sought through the Tax Motion).

        21.      The 2019 Assessment Notice further showed there was no “mathematical error” or

“miscalculation” in the Town’s determination of the abatement amount or the 2020 taxes. The

Town calculated the abatement based upon 70% of the gross assessed value of Improvements and

Expansion proposed by the Debtors. Assessor’s Aff. ¶ 20. The Town arrived at this value by

subtracting the 2018 grossed assessed value from the 2019 gross assessed value, and multiplying




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the difference (i.e. the gross assessed value for the Improvements and Expansion) by 70%, as

illustrated below. Id.


         ($20,883,500) (2019 Gross Assessed Value for Original Parcel Plus Improvements and Expansion)

         - ($9,986,900) (2018 Gross Assessed Value for Original Parcel)

          $10,896,600 (2019 Gross Assessed Value for Improvements and Expansion Only)

$10,896,600 x 70% = $7,627,200 (Exemption/Abatement Amount)

          22.     The approach undertaken by the Town in calculating the 2019 Abatement based on

the assessed value of the Improvements and Expansion was fully consistent with the approach it

had taken with the 2001 and 2012 Abatements granted to Suri. Assessor’s Aff. ¶ 21.

          23.     The 2019 Assessment Notice also reflected a net total assessed value of

$13,255,900 upon which the 2019 Mill Rate was applied to determine 2020 tax amounts due.

Assessor’s Aff. ¶ 22. The net total assessed value comprised the (i) the 2018 grossed assessed

value for the original parcel ($9,986,900) plus (ii) the remaining assessed value of the land and

building improvements after applying the 70% abatement ($3,268,980). Id. Notably, the annual

tax savings to Suri under this calculation totaled approximately $288,933.49, an amount similar to

the estimated tax savings of $219,810 set forth in the 2016 Resolution (based on the 2016 mill

rate).

          24.     The Assessment Notice also notified Suri of its statutory right pursuant to Conn.

Gen. Stat. § 12-111 to file an appeal on or before February 20, 2020 to dispute the Town’s

assessment. No such timely appeal was filed. Accordingly, Suri was barred from belatedly raising

issues in its Tax Motion that it failed to timely raise through a timely appeal under state law. City

of Danbury v. Dana Inv. Corp./Lot No. GO8065, 249 Conn. 1, 12, 730 A.2d 1128, 1136 (1999)

(“Public policy requires, therefore, that taxes that have not been challenged timely cannot “be the



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subject of perpetual litigation, at any time, to suit the convenience of the taxpayer. . . A taxpayer

who has not sought redress in an appropriate manner is foreclosed from continuing litigation

outside [those] statutes.”)

        25.     On or about July 1, 2020, the Town issued a bill for first installment for the 2019

tax year. The bill applied a mill rate of 37.8800 to a net assessed value of $13,255,900 (the same

net assessed value set forth in the 2019 Assessment Notice), reflecting a total annual tax of

$502,133.50. Assessor’s Aff. ¶ 23, Ex. 6.

        26.     After the issuance of the July 2020 bill, on July 6, 2020, CPI’s then Chief Financial

Officer, Jack Herpok, contacted the Town to inquire about the assessed values and taxes set forth

in the bill. Assessor’s Aff. ¶ 24, Ex. 7.

        27.     On July 29, 2020, counsel for the Town informed Mr. Herpok that the Abatement

Agreement applied only to the improvements related to the expansion of CPI’s facility because

CPI’s original facility had previously received an abatement. Assessor’s Aff. ¶ 25.

        28.     On November 5, 2020, counsel for CPI, Attorney Randy Lovallo, contacted the

Town to inquire again about whether the Abatement Agreement applied to the entire property.

Assessor’s Aff. ¶ 26. The Town Assessor spoke with Attorney Lovallo on November 9, 2020 and

explained that there was no error in the 2020 tax bill on the Subject Property. Id.

        29.     By email dated November 17, 2020, counsel for the Town advised Attorney

Lovallo that “the tax fixing agreement related to the expansion of Carla’s facility was directly

related to the increase in investment for that expansion and not for the entire property thereafter.

Indeed, a tax abatement was already granted to Carla’s for the initial project many years ago.

Consequently, a tax abatement in 2019 is 70% of the increased value of the property relative to the

expansion only.” Assessor’s Aff. ¶ 27; Ex. 8.



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        30.    By hand-delivered letter to the Town dated November 16, 2020, co-counsel for the

Debtors submitted partial payment for the 2020 tax amounts due for the Subject Property, claiming

that the tax invoice “[did] not accurately reflect the 70% reduction in the real property taxes on 50

Talbot Lane pursuant to the Agreement Regarding Real Property Tax Assessment, dated October

3, 2019.” Counsel indicated in the letter that Suri was “eager to discuss” the issue. Assessor’s Aff.

¶ 28; Ex. 9.

        31.    Suri made no further effort to contact the Town to inquire about the basis of the

2020 tax bill or applicable abatements. Instead, it simply ignored the issue and its outstanding tax

2020 tax obligation and allowed ongoing interest to accrue. Assessor’s Aff. ¶ 29.

        32.    Five months later, on the same date that the Court entered its Order approving the

sale of Suri’s assets to the Purchasers and four days prior to closing of the sale, Suri filed the Tax

Motion. According to the Certificate of Service accompanying the Motion, Suri purportedly

served the “Town of South Windsor (Attn: Tax Collector)” with notice of the Motion. The

Certificate of Service does not specify the manner in which the Town was served, nor provide the

address at which the Town was served.

        33.    Notwithstanding the certificate of service on the Tax Motion, the Town did not

receive notice of the Tax Motion. Assessor Affidavit ¶ 30; Affidavit of Jennifer Hilinski-Shirley,

Collector of Taxes (the “Tax Collector Aff.”) ¶¶ 11, 12. The Town first learned of the Tax Motion

and Tax Order on June 30, 2021, after being contacted by Debtors’ counsel to issue a corrected

2020 tax bill. Tax Collector Aff. ¶¶ 9, 10. After being furnished with copies of the Tax Motion

and Tax Order by Debtors’ counsel, the Tax Collector’s office conducted a diligent search of all

notices received by the Tax Collector’s office in connection with the Debtors’ bankruptcy cases, all

of which had been date-stamped on the date received and retained in the Town’s files. Tax



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 Collector Aff. ¶ 11. A search of those notices reflected that the Town did not receive notice of the

 Tax Motion or Tax Order. Id.

          34.       In the Tax Motion, Suri purported “to seek redress of a clear mathematical error”

 and represented that it was not seeking to raise a challenge to real property for which a timely

 appeal had not been filed. This representation was plainly untrue. To the extent Suri claimed in

 the Tax Motion that the 70% abatement applied to the entire gross assessed value of the Subject

 Property, it was required to raise that issue as an appeal to the 2019 Assessment Notice, which

 identified an abatement amount far less than 70% of the entire assessed value, and further showed

 the net assessed value upon which the 2020 taxes were based. By failing to act, Suri improperly

 sought the same relief under section 505 that it was time-barred from obtaining through statutory

 remedies under state law.

          35.       Following a hearing held on May 19, 2021 (at which the Town did not appear due

 to its lack of notice on the Tax Motion), the Court issued an Order granting the Tax Motion. The

 Court’s Order provides that “[t]he Debtors’ tax liability to the Town of South Windsor in

 connection with its Real Property located at 50 Talbot Lane is determined to be $257,320.103 for

 the 2020 tax year. For the 2020 tax year and after, the Town of South Windsor is required to

 reduce the gross assessment by 70% prior to calculating the real property tax due on account of the

 Real Property as is required under the Abatement Agreement.” The Town estimates that the total

 loss of revenue over the seven-year period of the 2019 Abatement resulting from the issuance of

 the Tax Order will be approximately $1,854,571 (which amount is calculated using the 2020 mill

 rate).




 3
   The tax amount set forth in the Court’s order appears to be an error – the calculation of the 2020 tax bill as set forth in
 the Tax Motion was $237,320.09.


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                                            ARGUMENT

     I.         Numerous Grounds Justify Relief from The Tax Order in Favor of the Town.

          36.      Federal Rule of Civil Procedure 60, made applicable to bankruptcy proceedings

 by Fed. R. Bankr. P. 9024, governs the process by which a party may obtain relief from a

 judgment or order. Rule 60(b)(1) allows for relief from judgment based on “mistake,

 inadvertence, surprise, or excusable neglect.” Fed. R. Civ. P. 60(b)(1). Rule 60(b)(6), on the

 other hand, allows for relief from judgment based on “‘any other reason justifying relief.’”

 United Airlines, Inc. v. Brien, 588 F.3d 158, 175 (2d Cir. 2009)

          37.      Rule 60(b)(6) “confers broad discretion on the trial court to grant relief when

 appropriate to accomplish justice [and] it constitutes a grand reservoir of equitable power to do

 justice in a particular case.” Matarese v. LeFevre, 801 F.2d 98, 106 (2d Cir.1986) (internal

 quotation marks omitted). Relief is warranted “where there are extraordinary circumstances, or

 where the judgment may work an extreme and undue hardship, and should be liberally construed

 when substantial justice will thus be served.” Id. (internal citations and quotation marks omitted).

          38.      Relief from the Tax Order is warranted on several grounds. First, the Tax Order

 was entered based upon a mistake of facts presented to the Court. The Debtors incorrectly

 represented in their Tax Motion that it was being filed merely to correct a “mathematical error”

 when the Debtors actually sought to challenge the assessed value upon which the 70% abatement

 was to be applied. The arguments raised in the Tax Motion should have properly been pursued as

 an appeal pursuant to Conn. Gen. Stat. § 12-111 to the 2019 Assessment Notice issued in January

 2020, by which the Town notified the Debtors of the abatement amount, and the net assessed value

 upon which the 2020 taxes were to be calculated. The Debtors failed to file a timely appeal of the

 2019 Assessment Notice by the statutorily prescribed deadline of February 20, 2020.



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         39.     Moreover, the Debtors represented in the Tax Motion that they “attempted to

 resolve this informally through communications with the Town’s tax officials, but has been unable

 to secure the correction.” The communications submitted to this Court consist of the entirety of

 the efforts made by the Debtor toward such informal resolution. Beyond the cursory inquires made

 by various counsel and its former CFO, the Debtors made no meaningful attempt to understand the

 basis for the Town’s calculation, or any other effort to resolve the matter. Moreover, as the

 attached correspondence shows, the Town responded to every inquiry made by the Debtor

 claiming a purported “miscalculation” of the 2020 taxes by explaining the reasons why the

 Debtors’ view of the abatement was incorrect.

         40.     The Debtors’ failure to file a timely appeal under state law also voids the legal

 grounds upon which the Tax Motion was premised. As acknowledged by the Debtors in the Tax

 Motion, 11 U.S.C. § 505(a)(2)(C) bars determination of “the amount or legality of any amount

 arising in connection with an ad valorem tax on real or personal property of the estate, if the

 applicable period for contesting or redetermining the amount under applicable nonbankruptcy law

 has expired.”    Here, there can be no reasonable dispute that the time to appeal the 2019

 Assessment Notice expired months before Suri filed the Tax Motion. Accordingly, relief from the

 Tax Order should be granted on grounds of factual and legal error.

         41.     Ample grounds for relief on the Tax Order also exist under the catchall provision of

 Rule 60(b)(6) due to the Town’s lack of notice of the Tax Motion and the substantial prejudice

 suffered by the Town in it its inability to object to the entry of the Tax Order. Although the

 Debtors’ certificate of service shows apparent service upon the Town, the Town has submitted an

 affidavit herewith affirming that it did not receive notice of the Tax Motion or Tax Order.




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         42.    A denial of relief from the Tax Order would also effect an extreme and undue

 injustice by providing the Debtors and the Purchasers with a tax windfall of over $1.8 million over

 a period of seven years, while also rewarding the Debtors for failure to exercise their statutory

 remedies to properly and timely raise the issues presented in the Tax Motion. Such an inequitable

 outcome should not be permitted without at least the opportunity for the Court to fully consider the

 merits of the Town’s objections to the Tax Motion, as set forth herein.

         43.    Conversely, even though a grant of this Motion creates the potential for a secured

 claim in favor of the Town against Suri for additional tax amounts due for the 2020 tax year

 (estimated by the Town to be approximately $154,474.48 for amounts due up to the sale closing),

 the Town has expressed a willingness to be flexible on the interest and charges due on such

 amounts.

         44.    Finally, the Town submits that grant of this Motion also cannot be construed to

 cause prejudice to the Purchaser based on any purported reliance of the relief granted in the Tax

 Order, because the Tax Order was entered after the closing on the sale of the Subject Property had

 already occurred.

         For these reasons, the Motion for Relief should be granted to allow the Court to permit the

 Court to evaluate the merits of the Motion based upon the objections raised by the Town herein,

 and to reverse entry of the Tax Order.




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         WHEREFORE, the Town of South Windsor respectfully requests that the Court (i) grant

 relief from the Tax Order pursuant to Rule 60 of the Federal Rules of Civil Procedure to consider

 the Tax Motion on its merits and reverse entry of the Tax Order, and (iii) grant such other and

 further relief to the Town as may be just and proper.


 Dated: July 22, 2021
                                               Respectfully submitted,

                                               TOWN OF SOUTH WINDSOR

                                               By its attorneys:

                                                /s/ Taruna Garg
                                               Taruna Garg
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                                               Telephone: 203.653.5400
                                               Facsimile: 203.653.5444
                                               tgarg@murthalaw.com

                                  CERTIFICATE OF SERVICE

         I hereby certify that on July 22, 2021, a copy of the foregoing motion, and all
 declarations and exhibits thereto, were filed electronically and notice of electronic filing was sent
 by email to all parties in interest filing appearances in this matter by operation of the Court’s
 electronic filing system as indicated on the Notice of Filing.

                                                               _____/s/ Taruna Garg_________
                                                               Taruna Garg




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